      Case:18-04070-ESL11 Doc#:112 Filed:11/27/18 Entered:11/27/18 10:39:09                           Desc:
                          Order Granting (Generic) Page 1 of 1
                             IN THE UNITED STATES BANKRUPTCY COURT
                                         District of Puerto Rico



IN RE:                                                     Case No. 18−04070 ESL
ANA EMILIA ORTIZ JIMENEZ
dba SXXXON SERVISE STATION                                 Chapter 11

xxx−xx−3794
                                                           FILED & ENTERED ON 11/27/18
                        Debtor(s)



                                                     ORDER

The motion filed by Debtor requesting the withdrawal of docket entry #108 (docket #111) is hereby granted .

IT IS SO ORDERED.

In San Juan, Puerto Rico, this Tuesday, November 27, 2018 .
